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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                          )
                                                    )
        Plaintiff,                                  )   Criminal No. 6:16-cr-00034-GFVT-HAI-7
                                                    )
 V.                                                 )       MEMORANDUM OPINION
                                                    )               &
 JAMES RONALD JONES,                                )             ORDER
                                                    )
        Defendant.                                  )

                                      *** *** *** ***

       On December 20, 2017, United States Magistrate Judge Hanly A. Ingram held a detention

hearing for Defendant James Ronald Jones. [R. 237.] Judge Ingram then determined Mr. Jones

should be detained pending trial pursuant to the Bail Reform Act of 1984, 18 U.S.C. §§ 3141, et

seq. [R. 240.] Nearly five months later, Mr. Jones now requests reconsideration of that order

pursuant to 18 U.S.C. § 3145(b) by the undersigned. [R. 323.] For the reasons that follow, the

Court overrules Mr. Jones’s objections to Magistrate Judge Ingram’s detention order, and Mr.

Jones shall remain in custody pending trial.

                                                I

                                                A

       Initially, a grand jury returned a second superseding indictment in this case on November

9, 2017, adding Mr. Jones as a defendant and charging him with conspiracy to distribute

controlled substances, to include a quantity of pills containing oxycodone, a Schedule II

controlled substance. [R. 181 at 1–2.] This conspiracy is in violation of 21 U.S.C. §§ 841(a)(1)

and 846. Id.
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        Consistent with the Court’s local practice, Magistrate Judge Hanly A. Ingram presided

over Mr. Jones’s initial appearance, arraignment, and detention hearing. [R. 224; R. 237.] Judge

Ingram determined detention was required in this case, and imposed detention pending trial. [R.

240.] Mr. Jones challenged this detention order and requests that this Court, after a de novo

review of the record and an independent detention review hearing, release Mr. Jones pending

trial. [R. 323.]

                                                 B

        In his detention order, Magistrate Judge Ingram discussed the presumption of detention

as to flight risk and danger that applies to this case. [R. 240.] The findings in the detention order

were based on testimony of one Defense witness, Mr. Christopher Snyder, who considered

himself a close friend to Mr. Jones, and Agent Kyle Sizemore, a Diversion Investigator with the

DEA. Id. at 1–2. Mr. Jones also submitted several character letters. Id. Based on this evidence,

Judge Ingram found that Mr. Jones initially rebutted the presumption of detention for flight risk

and danger. Id. at 5. However, the presumption of detention does not completely disappear,

even when a defendant can rebut it. Instead, the presumption retains evidentiary weight to be

considered along with the other factors of § 3142(g). United States v. Stone, 608 F.3d 939, 947

(6th Cir. 2010).

        Ultimately, Judge Ingram found that the factors set forth in 18 U.S.C. § 3142(g) lean in

favor of detention. [R. 240 at 5.] Mr. Jones’s charge of conspiracy to distribute oxycodone was

a pro-detention factor under § 3142(g)(1). Offenses related to controlled substances are

enumerated as offenses where the nature and circumstances of the charged crime weigh in favor

of detention. § 3142 (g)(1). If Mr. Jones is convicted of Count 1, he faces up to thirty years

imprisonment. [R. 240 at 5.]



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       Judge Ingram also found that § 3142(g)(2) supported detention of Mr. Jones prior to trial.

He discussed how the weight of the evidence regarding the dangerousness of Mr. Jones was

substantial, as the alleged conspiracy occurred while Mr. Jones was serving parole. Id. at 6.

Additionally, evidence showed that Mr. Jones initially lied about being in Sevierville, Tennessee,

though hotel receipts were later able to prove his whereabouts. Id. Judge Ingram determined

this behavior demonstrated disregard for his parole conditions and thus disregard for additional

conditions of release. Id.

       Similarly, Judge Ingram determined that Mr. Jones’s history and characteristics under §

3142(g)(3) supported detention. Id. Beginning at the age of twenty, Mr. Jones has been

convicted for burning motor vehicles, grand larceny, possession with intent to distribute Cocaine

Hydrochloride, an attempt to commit felony burglary, and theft, possession, and transportation of

stolen vehicles. Id. The last of these convictions occurred in 1995, but the alleged conspiracy

began in 2007, while Mr. Jones was serving out conditions of parole from his last conviction. Id.

While Mr. Jones submitted twenty-three character letters indicating he is a hardworking and

considerate individual, Judge Ingram determined his criminal history weighed in favor of

detention. Id.

       Finally, Judge Ingram found that § 3142(g)(4) supported detention of Mr. Jones. Id. at 7.

The allegations of burglaries of pharmacies in order to traffic in oxycodone is a serious charge.

Id. Such behavior is a danger to the community. Additionally, Judge Ingram was concerned that

this conspiracy occurred during a period of parole for Mr. Jones, and that Mr. Jones’s statements

related to his stay in Sevierville were not consistent with hotel receipts for which he signed. Id.

       Ultimately the § 3142 factors “combine to indicate significant danger risks of a serious

nature,” and these danger risks to the Community are what the Magistrate Judge relied on to



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justify detention pending trial. Mr. Jones, through counsel, now seeks review of Judge Ingram’s

findings [R. 240], and the Court considers the matter de novo. See, e.g., United States v. Crane,

No. 5:15-005-DCR, 2015 WL 4424957, at *2 (E.D. Ky. July 17, 2015); United States v. Yamini,

91 F. Supp. 2d 1125, 1127 (S.D. Ohio 2000).

                                                II

       Pursuant to the Bail Reform Act, 18 U.S.C. § 3141, et seq., a defendant may be detained

pending trial only when a judicial officer “finds that no condition or combination of conditions

will reasonably assure the appearance of the person as required and the safety of any other

person and the community.” 18 U.S.C. § 3142(e). The default position of the law is that a

defendant should be released pending trial. United States v. Stone, 608 F.3d 939, 945 (6th Cir.

2010). However, this default is modified for certain defendants considered “particularly

dangerous.” Id. If probable cause exists to believe that a defendant committed one of the crimes

listed in 18 U.S.C. § 3142(e)(3), there is a rebuttable presumption in favor of detention. A grand

jury indictment alone will satisfy the probable cause requirement. See United States v. Hazime,

762 F.2d 34, 37 (6th Cir. 1985).

       Section 3142(e)(3) imposes a “burden of production” on the defendant, while the

Government retains the ultimate “burden of persuasion.” Stone, 608 F.3d at 945. While a

defendant’s burden of production is not heavy, the defendant must come forward with some

evidence to suggest he poses neither a risk of flight nor a danger to the community. Id. (citing

United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001)). Satisfying this burden of

production is insufficient to overcome fully the presumption in favor of detention; instead, the

presumption remains a factor to be weighed by the district court. Id.

       Regardless of whether or not a presumption in favor of detention applies to a particular



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defendant, the Government must prove that no conditions of release can ensure the safety of the

community or the defendant’s appearance in future court proceedings. Id. Title 18 U.S.C. §

3142(g) delineates factors for courts to consider in order to determine whether the Government

has satisfied this burden of persuasion:

       (1)    the nature and circumstances of the offense charged, including whether the
       offense is a crime of violence, . . . a Federal crime of terrorism, or involves a minor
       victim or a controlled substance, firearm, explosive, or destructive device;

       (2)     the weight of the evidence against the person;

       (3)     the history and characteristics of the person, including –

               (A)    the person’s character, physical and mental condition, family ties,
               employment, financial resources, length of residence in the community,
               community ties, past conduct, history relating to drug or alcohol abuse,
               criminal history, and record concerning appearance at court proceedings;
               and

               (B)     whether, at the time of the current offense or arrest, the person was
               on probation, on parole, or on other release pending trial, sentencing,
               appeal, or completion of sentence for an offense under Federal, State, or
               local law; and

       (4)    the nature and seriousness of the danger to any person or the community
       that would be posed by the person’s release . . . .

18 U.S.C. § 3142(g). A court’s consideration of these factors should not be construed to modify

or limit the defendant’s presumption of innocence. 18 U.S.C. § 3142(j).

       With this legal framework in mind, the Court considers Mr. Jones’s request. First, the

Court finds the Government satisfied its burden to show probable cause that Mr. Jones

committed one of the crimes listed in 18 U.S.C. § 3142(e)(3). A grand jury indictment was

returned against Mr. Jones charging him with conspiring with Robert Nunley, Christopher Land,

Anthony Bosio, Kenneth Britton, Randy Stiefel, Jamie Sweeton, and Tony Britton to knowingly

and intentionally distribute controlled substances, to include a quantity of pills containing



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oxycodone, a Schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1), all in

violation of 21 U.S.C. § 846. [R. 181 at 1–2.] Because of his prior felony drug convictions, Mr.

Jones faces up to thirty years of incarceration. Id. at 6. As a result, the default in Mr. Jones’s

case is a presumption in favor of detention. See 18 U.S.C. § 3142(e)(3); Hazime, 762 F.2d at 37.

       Because of this presumption, the burden shifts to Mr. Jones to offer rebuttal evidence. To

overcome the initial presumption, Mr. Jones bears a burden of production to demonstrate he is

not a flight risk and not a danger to the community. Stone, 608 F.3d at 945. Mr. Jones tendered

character letters to the Court, which asserted that he was of good character and would abide by

terms of release. [R. 240 at 1.] Additionally, at the hearing before Magistrate Judge Ingram, Mr.

Jones called Mr. Christopher Snyder to testify that Mr. Jones was not a flight risk or danger to

the community. Id. Accordingly, Mr. Jones has satisfied his burden of production.

       Although Mr. Jones has overcome the low rebuttal threshold necessary to rebut the

presumption as to his dangerousness and risk of flight, the Court finds the Government has

adequately satisfied its burden of persuasion to warrant his pretrial detention. Once a defendant

satisfies the burden of production, the burden shifts back to the Government to prove that no

conditions of release will assure the appearance of the defendant and the safety of the

community. Stone, 608 at 945–46. Here, the Government responded with testimony from Agent

Kyle Sizemore at Mr. Jones’s initial hearing. The Court now turns to the factors of 18 U.S.C. §

3142(g) to determine whether the Government has met their burden of persuasion.

       First, the “nature and circumstances of the offense charged” clearly weigh in favor of

detention. 18 U.S.C. § 3142(g)(1) specifically directs the Court to consider whether the charged

offense “involves… a controlled substance.” Mr. Jones charges directly involve a conspiracy to

distribute controlled substances, and therefore, § 3142(g)(1) supports detention.



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       Next, the “weight of the evidence” against Mr. Jones slightly favors detention, though

there are mitigating factors. See 18 U.S.C. § 3142(g)(2). This factor relates to the weight of the

evidence of a defendant’s dangerousness, not the weight of evidence of his guilt. Stone, 608 at

948. Both the Government and Mr. Jones presented witnesses at the detention hearing. [R. 240

at 1–2.] Mr. Snyder testified that Mr. Jones had completed parole without violations, and that

Mr. Jones did not steal from his construction clients. Id. at 1. Additionally, Mr. Jones presented

numerous character letters from his community, attesting to his reliability and dedication to his

family. [R. 323-1.] However, the Court is concerned about what Mr. Jones did not reveal.

Testimony from Agent Sizemore indicates that he lied to authorities when asked about whether

he was in Sevierville, Tennessee on the night of a burglary involving codefendant, Robert

Nunley. [R. 240 at 2.] Later, hotel receipts and corroboration from codefendants resulted in Mr.

Jones admitting to being in Sevierville, but leaving prior to the burglary. Id.

       Additionally, according to Agent Sizemore, James Brown has relayed to officials that he

has purchased controlled substances from Mr. Jones. Id. at 3. Mr. Brown also indicated that he

worked for Mr. Jones’s carpentry business, where Mr. Jones paid him in narcotics. Id. Mr.

Jones believes this evidence is not particularly trustworthy, as Mr. Brown has both a reputation

for drug addiction problems as well as a reputation for cooperating with law enforcement. [R.

323 at 6.] The Court does not find this argument persuasive. Cooperation with law enforcement

suggests reliability of Mr. Brown’s statements. See, e.g., United States v. Pinson, 321 F.3d 558

(6th Cir. 2003) (upholding search warrant predicated on information from a confidential

informant who had provided past information to law enforcement). Furthermore, as the

Government notes, Mr. Brown’s reputation as a drug addict does not discredit his statements

concerning his purchase of narcotics. [R. 336 at 4.] “More doubtful would be a claim of



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purchasing pills by a witness who never abused drugs.” Id. Ultimately, the Court believes the

weight of the evidence supports pretrial detention of Mr. Jones.

       The third § 3142(g) factor, weighs in favor of detention. See 18 U.S.C. § 3142(g)(3)(A).

While past crimes are not probative of guilt, Mr. Jones’s lengthy criminal history suggests

detention is appropriate. Letters submitted by his community paint Mr. Jones as a family man

and a reliable construction worker, who works hard to provide for his family. [R. 323-1.]

However, his love for his family and his abilities in his profession, do not negate a possibility of

criminal conduct. Mr. Jones has a lengthy criminal history of serious crimes involving attempted

felony burglary, stolen vehicles, grand larceny, burning motor vehicles, and drugs. [R. 240 at 6.]

His last conviction occurred in 1995, over twenty years ago, but the indictment charges him with

behavior occurring beginning in 2007, when Mr. Jones was released on parole. Id. at 6–7. Mr.

Jones’s previous crimes involving drugs and stolen vehicles also relate to his current criminal

charge for a conspiracy involving burglary, stolen vehicles, and controlled substances,

suggesting detention is appropriate. [R. 288 at 1120–1123.]

       Finally, this Court considers “the nature and seriousness of the danger to any person or

the community that would be posed by the person’s release.” See 18 U.S.C. § 3142(g)(4). The

Court takes notice that this conspiracy allegedly occurred while Mr. Jones was released from

custody on parole. [R. 240 at 6.] Such behavior suggests a propensity to continue criminal

activity, despite conditions of release. While Mr. Jones questions the credibility of the

statements made by his codefendants, he presents no tangible reason for the Court to do so. [R.

323 at 6.] The testimony of Agent Sizemore suggests that Mr. Jones is not always truthful with

law enforcement, and the alleged behavior while on parole suggests Mr. Jones would not adhere

to any conditions of release that the Court may impose. [R. 240 at 6–7.] The Court is convinced



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that no conditions or combination of conditions for release would reasonably assure the required

appearance of Mr. Jones and the safety of the community. Ultimately, the Court finds that the

Government has adequately satisfied its burden of persuasion to show Mr. Jones’s dangerousness

or to show his risk of flight.

                                               III

        Accordingly, and the Court being otherwise sufficiently advised, it is hereby ORDERED

as follows:

        1.      Defendant James Ronald Jones’s Motion to Revoke Detention Order [R. 323]

shall be CONSTRUED as an Objection to Magistrate Judge Hanley A. Ingram’s Order of

Detention Pending Trial [R. 240];

        2.      So construed, Mr. Jones’s Objections to the Magistrate’s Order [R. 323] are

OVERRULED; and

        3.      Mr. Jones shall REMAIN in custody pending trial.

        This the 17th day of May, 2018.




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